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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  ADOLFO CHAVEZ III, individually and on             )
  behalf of all others similarly situated,           )
                                                     )
                         Plaintiff,                  ) Case No.
                                                     )
            v.                                       )
                                                     ) JURY TRIAL DEMANDED
  CLARUS GROUP, LLC and CERNER                       )
  CORPORATION,                                       )
                                                     )
                         Defendants.                 )

                    CLASS AND COLLECTIVE ACTION COMPLAINT

       Adolfo Chavez III (“Plaintiff”), individually and on behalf of all others similarly-situated,

by and through his undersigned counsel, hereby makes the following allegations against Clarus

Group, LLC (“Clarus”) and Cerner Corporation (“Cerner”) (collectively “Defendants”)

concerning her acts and status upon actual knowledge and concerning all other matters upon

information, belief and the investigation of her counsel:

                                 NATURE OF THE ACTION

       1.        Plaintiff brings this action to redress common policies and practices by which

Defendants, jointly and severally, suffered and permitted Plaintiff and other similarly-situated

employees to work in excess of 40 hours per week without properly compensating them at an

overtime premium rate for all of their overtime hours. Defendants’ policies and practices violate

the Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201, et seq. (“FLSA”) and the Pennsylvania

Minimum Wage Act of 1968, 43 P.S. §§ 333.101, et seq. (“PMWA”) by denying Defendants’

employees overtime premium wages for overtime hours they actually work.
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                                  JURISDICTION AND VENUE

        2.      This Court has subject-matter jurisdiction over this action pursuant to 29 U.S.C. §

216(b), which provides that suit under the FLSA “may be maintained against any employer… in

any Federal or State court of competent jurisdiction,” pursuant to 28 U.S.C. § 1331 because

Plaintiff asserts a claim arising under the FLSA and pursuant to 28 U.S.C. § 1332(a)(1) because

the matter in controversy in this civil action exceeds $75,000.00, exclusive of interest and costs,

and the Parties are residents of different states.

        3.      This Court has supplemental jurisdiction over Plaintiff’s PMWA claim pursuant to

28 U.S.C. § 1367 because this claim arises from the same occurrences and transactions as

Plaintiff’s FLSA claim (i.e., Defendants’ failure to pay overtime wages) and is so related to this

claim as to form part of the same case or controversy.

        4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because

Defendants conduct business within Pennsylvania, including within this District, Plaintiff worked

for Defendants within this District and because the actions and omissions giving rise to the claims

pled in this Complaint occurred within this District.

                                           THE PARTIES

        5.      Plaintiff is a resident of Placentia, California who worked for Defendants as an At-

The-Elbow Clinical Support Specialist (“ATE”) at the Penn State Health Milton S. Hershey

Medical Center (“Hershey Medical Center”) in the Commonwealth of Pennsylvania during the

relevant period. Plaintiff is personally familiar with, and has been personally affected by, the

policies and practices described in this Complaint and has signed and filed a Consent Form to join

this litigation. See Chavez Opt-In Form (Exhibit A).




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        6.      Defendant Clarus is a Kansas limited liability company with a principal place of

business in Overland Park, Kansas. Clarus provides information technology support services to

the healthcare industry in this District and nationwide. With respect to the claims pled in this

action, Clarus’s main function was to recruit and hire individuals to assist hospitals and healthcare

organizations with the implementation and administration of an integrated health computer system.

        7.      Defendant Cerner is a Delaware corporation with a principal place of business in

North Kansas City, Missouri. Cerner also provides information technology support services in the

healthcare industry in this District and nationwide. With respect to the claims pled in this action,

Cerner’s main functions were to manage the day-to-day duties of individuals tasked to assist

hospitals and healthcare organizations with the implementation and administration of an integrated

health computer system and engage in recruiting.

        8.      Throughout the relevant period, Defendant Clarus and Defendant Cerner have

jointly exercised operational control over the work done by ATEs, including: setting and

implementing the work, timekeeping and compensation policies and practices at issue in this

matter, providing training on these policies and procedures, tracking employees’ hours worked

and setting and paying employees’ wages.

                                     BACKGROUND FACTS

        9.      Plaintiff and the members of the proposed class and collective are individuals who

have worked for Defendants as an ATE, or in any similarly-titled, hourly-paid position during the

statutory period. Among other things, ATEs were all paid an hourly rate of pay, shared similar

job titles, training, job descriptions and job tasks.

        10.     Defendants, in a combined effort, jointly recruited, placed and managed ATEs at

various healthcare entities across the country for limited periods of time (usually a few weeks at a



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time) where they assisted with the implementation and administration of integrated health

computer systems.

          11.      Defendants, in a combined effort, jointly dictated, controlled and ratified all of the

policies and practices relating to ATE work, timekeeping and compensation.

          12.      Defendants, in a combined effort, jointly encouraged, required and/or permitted

ATEs to work more than 40 hours per week, only paid ATEs for billable hours (i.e. only ATE

hours billed to a client) and did not pay ATEs for any hour they worked that was not billed to a

client.

          13.      As part of Defendants’ combined effort to recruit, place and manage ATEs,

Defendant Clarus was typically responsible for, and did in fact:

                a. Recruit and hire ATEs, including ATEs, through personnel
                   including Lindsey Johnson and Erica Voss;

                b. Oversee the verification of background screening for ATEs;

                c. Supply ATEs with project guideline documents that provided
                   detailed information relating to each respective project;

                d. Arrange, approve and pay for ATE’s flights, rental cars, hotels and
                   parking;

                e. Issue paychecks to ATEs;

                f. Address issues relating to ATE compensation;

                g. Approve and maintain ATE time and expense reports;

                h. Provide ATEs with access to its accounting/HR team to resolve
                   issues relating to Paylocity software, the system ATEs used to enter
                   their time and expenses;

                i. Assist ATEs with time and expense reports through their
                   accounting/HR team; and

                j. Maintain ATE records, including personnel files, through their
                   accounting/HR department.



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       14.      As part of Defendants’ combined effort to recruit, place and manage ATEs,

Defendant Cerner was typically responsible for, and did in fact:

             a. Conduct orientation and on-boarding activities for ATEs;

             b. Determine ATE work schedules;

             c. Approve any ATE schedule changes;

             d. Instruct and enforce the required dress code for ATEs;

             e. Resolve issues regarding transportation schedules for ATEs;

             f. Resolve requests to transfer ATEs from a different (i.e. “quiet”) area
                to a busier one.

             g. Conduct calls and meetings with ATEs for various reasons relating
                to each respective project; and,

             h. Review, update and circulate transportation schedules and approve
                of alternative forms of transportation for ATEs;

       15.      Defendants assigned ATEs to Project Managers, or Team Leads, who served as

their first point of management contact. For example, Plaintiff’s Team Lead was Taylor

McLaughlin. Other Cerner management personnel included Dimitri Reese. Defendants required

ATEs to report to, communicate with, and respond to any requests from their Team Leads and

other Cerner management personnel and direct questions to them as needed. Defendants expected

ATEs to complete any duties assigned to them by their Team Leads or other Cerner management

personnel during the course of the project.

       16.      Defendants required all ATEs to remain on campus until their scheduled shift

concluded unless they received prior approval from their Team Leads or other Cerner management

personnel.

       17.      Defendants required all ATEs to notify their Team Leads or other Cerner

management personnel if they expected to be late or could not work their shift. Team Leads and



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other Cerner management personnel were responsible for evaluating the effectiveness of the ATEs

and Cerner could terminate an ATE’s participation on a project.

       18.     Defendants typically scheduled ATEs as full-time employees.

       19.     Under Defendants’ shared guidance, ATEs’ primary duty was to provide first-line

troubleshooting relating to the implementation of the software system. For example, Plaintiff was

assigned to the radiology units within Hershey Medical Center and was tasked with providing

direct interaction with the healthcare organization’s employees to help them use the software.

       20.     Under Defendants’ shared guidance, ATEs’ other duties included reinforcing

training, providing At-The-Elbow support without touching the mouse or keyboard, not teaching

the staff any new things or tout better ways elsewhere and not providing any sort of patient care.

       21.      Under Defendants’ shared guidance, ATEs had little discretion in the performance

of their job and worked within closely-prescribed limits provided by Defendants. More complex

technical issues were escalated to the next level.

       22.     Under Defendants’ shared guidance, ATEs’ primary duties: were not related to the

management of the business operations of Defendants or their customers, did not require the use

of discretion and independent judgment with respect to matters of significance, did not involve the

performance of work requiring advanced knowledge in a field of science or learning and did not

involve work requiring invention, imagination, originality, or talent in a recognized field of artistic

or creative endeavor.

       23.     Under Defendants’ shared guidance, ATEs were not employed as computer

systems analysts, computer programmers, software engineers, or similarly skilled computer

employees.




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       24.     Despite the fact that ATEs did not meet any test for exemption, Defendants failed

to pay ATEs the requisite overtime rate of 1½ times their regular rate for hours worked over 40

per week. Rather, Defendants paid ATEs their regular straight, hourly rate for time worked over

40 hours per week that was recorded by Defendants and nothing for the non-billable work they

were encouraged, suffered and permitted to perform.

       25.     Defendants paid all hours worked, including all hours over 40 per workweek, at a

standard straight-time hourly rate of pay.

       26.     Defendants did not keep accurate time records of all the work ATEs performed on

a daily basis. Rather, ATEs were required to record only their scheduled work hours on

Defendants’ Paylocity system.

       27.     Defendants knew that ATEs were routinely working more than 40 hours per week,

because they actively encouraged, suffered, permitted and/or directed ATEs to perform such work.

       28.     Defendants knew that they were not properly compensating ATEs, because these

employees’ timesheets clearly indicate that they routinely worked more than 40 hours per week,

but were not receiving any wages calculated at an overtime premium rate.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       29.     Plaintiff brings his FLSA claim on an opt-in, collective basis pursuant to 29 U.S.C.

§ 216(b) for himself and all people who have worked for Defendants as an ATE, or in any other

similarly-titled, hourly-paid position, during the maximum limitations period (the “FLSA

Collective”). Plaintiff reserves the right to amend this definition as necessary.

       30.      Plaintiff belongs to the FLSA Collective, because he was employed by Defendants

during the relevant period, was routinely suffered or permitted to work more than 40 hours per

week and was not paid an overtime premium rate for time worked over 40 hours per week.



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        31.      The FLSA Collective is “similarly situated,” as defined by 29 U.S.C. § 216(b),

because its members worked under similar terms and conditions, in similar jobs and were subjected

to the common policies and practices described herein.

        32.      Plaintiff and the FLSA Collective do not meet any test for exemption under the

FLSA.

        33.      Although Plaintiff and the Collective members may have had different job titles

and/or worked in different locations throughout the relevant period, this action may be properly

maintained as a collective action because:

              a. Plaintiff and the Collective members were all paid an hourly rate of
                 pay;

              b. Plaintiff and the Collective members worked in excess of 40 hours
                 per week;

              c. Defendants encouraged, suffered and/or permitted Plaintiff and the
                 Collective members to perform non-billable work without pay;

              d. Regardless of their job title or location, Defendants did not pay
                 Plaintiff and the Collective members an overtime premium of 1½
                 times their regular hourly rate for all time worked in excess of 40
                 hours per week; and

              e. Defendants maintained common timekeeping and payroll systems
                 and policies with respect to Plaintiff and the Collective members,
                 regardless of their job title or location.

        34.      Plaintiff estimates that the FLSA Collective, including both current and former

employees over the relevant period, will include at least 100 members. The precise number of

FLSA Collective members should be readily available from Defendants’ personnel, scheduling,

time and payroll records, and from input received from the Collective members as part of the notice

and “opt-in” process provided by 29 U.S.C. §216(b).




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                    PENNSYLVANIA CLASS ACTION ALLEGATIONS

       35.      Plaintiff brings her PMWA claim on an opt-out, class action basis pursuant to Fed.

R. Civ. P. 23 for herself and all people who have worked for Defendants as an ATE, or in any

other similarly-titled, hourly-paid position in Pennsylvania during the maximum limitations period

without receiving all overtime wages due for all overtime hours they worked (the “PA Class”).

Plaintiff reserves the right to amend this definition as necessary.

       36.     Plaintiff is a member of the PA Class because he worked as an hourly-paid ATE in

Pennsylvania during the relevant period and was not paid overtime wages due for overtime hours

he worked.

       37.     Class treatment of Plaintiff’s PMWA claim is appropriate because the PA Class

satisfies the requirements of Fed. R. Civ. P. 23.

       38.     The PA Class is so numerous that joinder of all its members would be

impracticable. Defendants employed over 40 people who fit the PA Class definition, meaning that

joining all of their claims would be impracticable.

       39.     Plaintiff’s claims are typical of the claims belonging to the PA Class. Plaintiff is

similarly-situated to the PA Class because he worked for Defendants under the common policies

and procedures identified above, and was denied legally-required wages for his work as a result of

Defendants’ common course of wrongful conduct.

       40.     There are material questions of law or fact common to the members of the PA Class

because, as discussed throughout this filing, Defendants engaged in a common course of conduct

that violated their legal rights. The legality of Defendants’ policies will be demonstrated by

applying generally applicable legal principles to common evidence. Any individual questions




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Plaintiff’s claims present will be far less central to this litigation than the numerous common

questions of law and fact, including:

              a. whether Defendants subjected the PA Class to materially-identical
                 timekeeping and compensation policies;

              b. whether Defendants encouraged, suffered and/or permitted the PA
                 Class to perform non-billable work without pay;

              c. whether Defendants maintain any policies or procedures to ensure
                 that the PA Class was properly paid for all hours worked;

              d. whether Defendants denied the PA Class overtime premium wages
                 owed under the PMWA; and

              e. whether Defendants should be required to pay compensatory
                 damages, liquidated damages and/or attorneys’ fees and costs, or
                 enjoined from continuing the wage and hour violations alleged in
                 this Complaint.

        41.      Plaintiff will fairly and adequately protect the interests of the PA Class because:

there is no apparent conflict of interest between Plaintiff and the PA Class; Plaintiff’s counsel have

successfully prosecuted many complex class actions, including state-law wage and hour class

actions, and will adequately prosecute these claims; and Plaintiff has adequate financial resources

to assure that the interests of the PA Class will not be harmed because her counsel has agreed to

advance the costs and expenses of litigation on the Class’ behalf contingent upon the outcome of

this litigation consistent with Pa. R. Prof. Conduct 1.8(e)(1).

        42.      Allowing this action to proceed as a class action will provide a fair and efficient

method for adjudication of the issues presented by this controversy because issues common to the

PA Class predominate over any questions affecting only individual members; no difficulties are

likely to be encountered in the management of this litigation as a class action; and the claims

addressed in this Complaint are not too small to justify the expenses of class-wide litigation, nor

are they likely to be so substantial as to require the litigation of individual claims.


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       43.      Allowing Plaintiff’s PMWA claim to proceed as a class action will be superior to

requiring the individual adjudication of each PA Class member’s claim, since requiring more than

100 hourly-paid employees to file and litigate individual wage claims will place an undue burden

on the PA Class members, Defendants and the Courts. Class action treatment will allow a large

number of similarly-situated persons to prosecute their common claims in a single forum

simultaneously, efficiently and without the unnecessary duplication of effort and expenses if these

claims were brought individually. Moreover, as the damages suffered by each PA Class member

are relatively small, the expenses and burdens associated with individual litigation would make it

prohibitively impractical for them to bring individual claims. Further, the presentation of separate

actions by individual PA Class members could create a risk for inconsistent and varying

adjudications, establish incompatible standards of conduct for Defendants and/or substantially

impair or impede the ability of the PA Class members to protect their interests.

       44.      Allowing Plaintiff’s claims to proceed in a class action setting is also appropriate

because Pennsylvania’s wage laws expressly permit private class action lawsuits to recover unpaid

regular and overtime wages.

                                             COUNT I
                                  VIOLATION OF THE FLSA
                             (For Plaintiff and the FLSA Collective)

       45.      Each of the preceding paragraphs is incorporated by reference as though fully set

forth herein.

       46.      Defendants are “employers” as defined by 29 U.S.C. § 203(d).

       47.      Plaintiff and the FLSA Collective are “employees” as defined by 29 U.S.C. §

203(e)(1) and are not exempt from the FLSA’s protections for any reason.




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        48.    The wages Defendants pay to Plaintiff and the FLSA Collective are “wages” as

defined by 29 U.S.C. § 203(m).

        49.    Defendants are an “enterprise engaged in commerce” within the meaning of 29

U.S.C. § 203(s)(1)(A).

        50.    29 U.S.C. § 216(b) expressly allows private plaintiffs to bring collective actions to

enforce employers’ failure to comply with the FLSA’s requirements.

        51.    Throughout the relevant period, Defendants have been obligated to comply with

the FLSA’s requirements, Plaintiff and the FLSA Collective have been covered employees entitled

to the FLSA’s protections, and Plaintiff and the FLSA Collective have not been exempt from

receiving wages required by the FLSA for any reason.

        52.    29 U.S.C. § 207(a)(1) requires employers to pay their employees an overtime rate,

equal to at least 1½ times their regular rate of pay, for all hours worked in excess of 40 hours per

week.

        53.    Defendants have intentionally violated this provision of the FLSA with respect to

the FLSA Collective by maintaining common timekeeping and compensation policies and

practices that include routinely failing to track the hours the PA Class members actually worked

and suffering or permitting Plaintiff and the FLSA Collective to work overtime hours per week

without paying them overtime wages for these hours.

        54.    By engaging in this conduct, Defendants have acted with willful and/or reckless

disregard for the FLSA Collective members’ rights under the FLSA.

        55.    Plaintiff and the FLSA Collective have been harmed as a direct and proximate result

of Defendants’ unlawful conduct because they have been deprived of overtime premium wages




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owed for overtime-eligible work they performed and from which Defendants derived a direct and

substantial benefit.

        56.     For all the reasons stated above, Plaintiff and the FLSA Collective are similarly

situated individuals within the meaning of the FLSA, 29 U.S.C. §216(b).

                                          COUNT II
                                VIOLATION OF THE PMWA
                                (For Plaintiff and the PA Class)

        57.     Each of the preceding paragraphs is incorporated by reference as though fully set

forth herein.

        58.     The unpaid wages at issue in this litigation are “Wages” as defined by PMWA §

3(d).

        59.     Defendants are “Employers” as defined by PMWA § 3(g).

        60.     Plaintiff and the Pennsylvania Class members are “Employees” as defined by

PMWA § 3(h).

        61.     PMWA Section 4(c) requires employers to pay their employees overtime

compensation of “not less than one and one-half times the employee’s regular rate” for all hours

worked over 40 in a given workweek. Under the PMWA, overtime is calculated based on the

number of hours worked in a “workweek”, defined in controlling regulations as “a period of 7

consecutive days”. See 34 Pa. Code § 231.42.

        62.     PMWA § 8 requires employers to “keep a true and accurate record of the hours

worked by each employee and the wages paid to each.”

        63.     PMWA § 13 expressly allows private plaintiffs to bring a civil action to enforce an

employer’s failure to comply with the PMWA’s requirements and provides that an agreement




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between the employer and employee to work for less than the required minimum wage is not a

defense to an action seeking to recover unpaid minimum wages.

       64.    The PMWA does not contain an exemption to the overtime requirements of § 4(c)

for any type of computer employee. See PMWA § 333.105.

       65.    Throughout the relevant period, Defendants were obligated to comply with the

PMWA’s requirements, Plaintiff and the Pennsylvania Class members were covered employees

entitled to the PMWA’s protections, and Plaintiff and the Pennsylvania Class members were not

exempt from receiving wages required by the PMWA for any reason.

       66.    Defendants have intentionally violated these provisions of the PMWA by

maintaining common timekeeping and compensation policies and practices that include routinely

failing to track the hours the PA Class members actually worked and suffering or permitting

Plaintiff and the FLSA Collective to work overtime hours per week without paying them overtime

wages for these hours

       67.    By engaging in this conduct, Defendants have acted with willful and/or reckless

disregard for Plaintiff’s and the PA Class members’ rights under the PMWA.

       68.    There is no language in the PMWA, no exception to the PMWA or its enabling

Regulations, or any applicable provision elsewhere in Pennsylvania law that permits Defendants

to avoid paying Plaintiff and the PA Class for their overtime work, so Defendants have no good

faith justification or defense for failing to pay Plaintiff and the PA Class members all wages

mandated by the PMWA.

       69.    Defendants’ failure to pay Plaintiff and the PA Class all wages owed for their meal

break work violates the PMWA and has caused them to suffer economic harm.




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       70.      Plaintiff and the PA Class members have been harmed as a direct and proximate

result of the unlawful conduct described here, because they have been deprived of overtime

premium wages owed for overtime-eligible work they performed and from which Defendants

derived a direct and substantial benefit.

       WHEREFORE, Plaintiff respectfully prays for an Order:

             a. Certifying this matter to proceed as a collective action with respect
                to Count I and as a class action with respect to Count II;

             b. Approving Plaintiff as an adequate Class representative;

             c. Appointing Stephan Zouras, LLP to serve as Class Counsel;

             d. Finding Defendants willfully violated the applicable provisions of
                the FLSA and PMWA by failing to pay all required overtime wages
                to Plaintiff and the FLSA Collective and PA Class members;

             e. Granting judgment in favor of Plaintiff and the FLSA Collective and
                PA Class members against Defendants, and each of them, jointly
                and severally, on Counts I and II;

             f. Awarding all available compensatory damages in amounts to be
                determined;

             g. Awarding all available liquidated damages in amounts to be
                determined;

             h. Awarding pre-judgment interest on all compensatory damages due;

             i. Awarding a reasonable attorney’s fee and reimbursement of all costs
                and expenses incurred in litigating this action;

             j. Awarding equitable and injunctive relief precluding              the
                continuation of policies and practices pled in this Complaint;

             k. Awarding any further relief the Court deems just, necessary and
                proper; and

             l. Maintaining jurisdiction over this action to ensure Defendants’
                compliance with the foregoing.




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                                JURY DEMAND

Plaintiff hereby demands a trial by jury in the above-captioned matter.


                                             Respectfully Submitted,

Dated: March 14, 2019                        /s/ David J. Cohen
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                                             Attorneys for Plaintiff




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